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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF IOWA
                                  CENTRAL DIVISION

VEROBLUE FARMS USA, INC.,                         §
                                                  §
       Plaintiff,                                 §           CIVIL ACTION NO. 18-CV-3047
                                                  §
v.                                                §
                                                  §
LESLIE A. WULF, BRUCE A. HALL,                    §        DEFENDANT KEITH DRIVER’S
JAMES REA, JOHN E. REA, and KEITH                 §      12(b)(6) MOTION TO DISMISS AND
DRIVER                                            §       MOTION TO TRANSFER VENUE
                                                  §
       Defendants.                                §


          Defendant, Keith Driver (“Driver”), through its undersigned counsel and pursuant to

 Rules 12(b)(3) and 12(b)(6) of the Federal Rules of Civil Procedure and 28 U.S.C. § 1404 seeks

 to dismiss the all claims against Driver in VeroBlue Farms USA, Inc.’s (“VeroBlue” or “Plaintiff”)

 Complaint (the “Claims”) for failure to state a claim upon which relief can be granted, and, in the

 alternative, seeks to transfer venue.

                                         STATEMENT OF ISSUES

        The first issue presented is whether the Court should dismiss Plaintiff’s claims pursuant to

 Rule 12(b)(6), which protects defendants from claims that are meritless on their face. Here, the

 Claims should be dismissed under Rule 12(b)(6) for at least three reasons: (a) Plaintiff released

 Driver from all causes of actions, known or unknown, as of January 13, 2017, in the parties’

 Business Relationship Restructuring Agreement; (2) Plaintiff has not adequately plead Causes I-

 IX against Driver; and (3) Causes I-IX are not actionable.

        The second issue presented is whether the Court should transfer this action to the Northern

 District of Texas under the forum-selection clauses in the two written contracts between Plaintiff



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and Driver, both of which contain a forum-selection clause exclusively setting venue in the

Northern District of Texas.

                               EVIDENCE IN SUPPORT OF MOTION

 First Amended Complaint                          App. 0003-0030

 Declaration of Keith Driver                      App. 0031-0032

 Employment Agreement                             App.0033-0048

 Restructuring Business Agreement                 App. 0049-0063

                                     STATEMENT OF FACTS

A.     Allegations in the Complaint

       The First Amended Complaint (App.0003-0030) names Driver as a Defendant to all nine

counts listed within the Complaint, including claims for fraudulent concealment, fraudulent

misrepresentation, constructive fraud, civil conspiracy and declaratory judgment. (App. 0011-

0019, ¶ 43-85). VeroBlue alleges Driver served as an officer and employee (and/or) contractor of

VeroBlue from October 1, 2014 through on or about January 13, 2017, when VeroBlue terminated

his employment and officer status. (App. 0004, ¶ 3). Other than this statement (which is not true)

VeroBlue does not allege a single specific action taken by Driver, but instead states a slew of

alleged actions taken by all Defendants, leaving Driver to guess as to which actions VeroBlue

actually asserts he took part in. (App. 0003-0011, ¶¶ 11-42).

B.     Driver’s Employment with VeroBlue.

       Prior to July 1, 2016, Driver performed services for VeroBlue as a designated

representative of Seven Hours Holding Company, Inc., an independent contractor of VeroBlue’s.

(App. 0033). On July 1, 2016, VeroBlue and Driver entered into an Employment Agreement,

terminating Driver’s role as an independent contractor and putting him into the position of Chief

Operating Officer of VeroBlue. (App. 0033-0048).

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       Driver’s stint as COO of VeroBlue, however, was very brief – only six months. On January

13, 2017, Plaintiff and Driver entered into a Business Relationship Restructuring Agreement (the

“Release Agreement”), which terminated Driver’s Employment Agreement with Plaintiff and re-

established his consulting relationship with the company. (App. 0049-0063). Thus, Driver was

only an employee of VeroBlue for six months, yet Plaintiff seems to assert that Plaintiff was

involved in numerous schemes allegedly performed by VeroBlue’s officers during times that

Driver was not employed with the company and owed no duty to VeroBlue.

Additionally, as a part of the Release Agreement, Plaintiff agreed to the following:




(App. 0052). Thus, Plaintiff released Driver from all causes of actions, known or unknown, as of

January 13, 2017. (App. 0052).

C.     Facts that Allegedly Occurred After Driver’s Release from VeroBlue.

       Out of all the vague actions allegedly taken by all of the Defendants, the only facts that

VeroBlue alleges occurred after it released Driver from any and all causes of actions are on January

13, 2017:

            1. Wulf rebuilt the Wulf Lake House from in or around May 2015 through in or around
               July 2017. (App. 0007, ¶ 23).

            2. VeroBlue employee Tracy Arbanas (“Arbanas”) oversaw the reconstruction of the
               Wulf Lake House, and VeroBlue paid her to do so at an annual cost to VeroBlue of
               approximately $97,500, which represented Arbanas’ compensation and benefits.

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              Further, VeroBlue funded housing for Arbanas close to the lake house, and
              refreshments for the construction crew on this project. All told, VeroBlue incurred
              approximately $107,490.51 for compensation and benefits to Arbanas. (App. 0007,
              ¶ 24).

           3. Defendants paid for James Rea’s personal living expenses in Ames, Iowa, about
              forty miles from Webster City, Iowa in or around August 2017 from VeroBlue’s
              funds. (App. 0010, ¶ 39(c)).

           4. Defendants sold a home in Webster City, Iowa for less than what it purchased it for
              on May 25, 2018. (App. 0010, ¶ 39(h).

           5. Plaintiff purchased, at the direction of some or all Defendants, of a building and
              underlying property unnecessary to VeroBlue’s business and located in Webster
              City for $400,000 on July 28, 2016, which VeroBlue sold for $135,000 on April
              13, 2018. (App. 0011, ¶ 41).

       As all of the foregoing actions were taken, Driver was not an officer or director of

VeroBlue, was merely acting as a consultant to Veroblue, owed no duties to VeroBlue, and was

not involved in the actions. (App. 0031-33). In fact, Plaintiff does not allege that Driver was

involved at all in many of the listed actions occurring after January 13, 2017. Accordingly,

Plaintiff’s Claims against Driver because it fails to state any claim upon which may be granted

against Driver, fails to properly plead the claims based upon fraud, and have released Driver for

all Claims brought against him.




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D.       The Release Agreement Set Exclusive Venue in the Northern District of Texas.

         As part of the Release Agreement, Plaintiff agreed:




(App. 0055). Thus, the parties have contracted for a forum-selection clause that sets exclusive

venue in the Northern District of Texas for claims arising out of Driver’s employment with

Plaintiff or arising out of the Release Agreement, which covers each of Plaintiff’s claims. (App

0055).

         Although Plaintiff has failed to allege the existence of Driver’s Employment Agreement

and Release Agreement, its claims squarely address actions Driver allegedly took while employed

by and officers of VeroBlue. Thus, VeroBlue’s claims implicate Driver’s Employment Agreement

and related Release Agreement and therefore, must be brought in the Northern District of Texas.

VeroBlue’s Complaint must be transferred to that forum, as the parties previously agreed.

         WHEREFORE, for the reasons discussed above, and as stated in more detail in the

accompanying Brief in Support of Defendant Keith Driver’s 12(B)(6) Motion to Dismiss and, in

the alternative, its Motion to Transfer Venue of VeroBlue’s Claims, Defendant, Keith Driver’s

12(B)(6) Motion to Dismiss should be granted. In the alternative, in the event the Court denies

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Defendant, Keith Driver’s Motion to Dismiss, this Court should transfer venue to the Northern

District of Texas.


                                          Respectfully submitted,


                                          By:     /s/ Stacie M. Codr
                                                  Stacie M. Codr
                                                  scodr@finleylaw.com
                                                  Finley Law Firm, P.C.
                                                  699 Walnut Street, Suite 1700
                                                  Des Moines, IA 50309
                                                  Telephone: (515) 288-0145


                                                  R. Heath Cheek
                                                  State Bar No. 24053141
                                                  hcheek@bellnunnally.com
                                                  Katie R. Beaird
                                                  Texas Bar No. 24092099
                                                  kbeaird@bellnunnally.com
                                                  Pro Hac Vice Pending
                                                  Bell Nunnally & Martin LLP
                                                  2323 Ross Avenue, Suite 1900
                                                  Dallas, TX 75201
                                                  Telephone: (214) 740-1400
                                                  Telecopy: (214) 740-1499

                                          ATTORNEYS FOR DEFENDANT
                                          KEITH DRIVER




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
was served upon counsel of records for all parties via ECF Service.

       DATED this 15th day of October, 2018.

                                                   /s/ Joseph Moser




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